        Case 2:21-cr-00259-AB Document 37 Filed 07/13/21 Page 1 of 5 Page ID #:151



                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

        U NITED STATES OF AMERICA,                             I Western Division
                                                  Plaintiff,
                              vs.                               Case #: 2:21-CR-00259-AB-4               Indictment
                                                                Initial App. Date: 07/13/2021               Bond
        Elena Shifrin                                           Time: 1:00 PM




                                                Defendant.      Date Filed: 05/26/2021
                                                                Violation: 22:2778(b)_(2),_(c)_; 22CFR 121.1, 123.1,
                                                                127.1(a)_(4 18:371
                                                                CourtSmart/Reporter: CS07132021
  PROCEEDINGS HELD BEFORE UNITED STATES                                CALENDAR/PROCEEDINGS SHEET
    MAGISTRATE JUDGE:]ohn E. McDermott                                  LOCAL/OUT-OF-DISTRICT CASE




     PRESENT:           ShaRon Lorenzo                   David Ryan                                 / None
                 ----------------------------    ------------------------------     ----------------------------------------
                        Deputy C/erk               Assistant U.S. Attorney                  In terp~eter/Language




     Court issues Order under Fed. R. Crim. P. 5(f) concerning prosecutor's disclosure obligations; see
  General Order 21-02 (written order).

   Q Defendant informed of charge and right to: remain silent; appointment of counsel, if indigent; right
  to bail; bail review and Q preliminary hearing

   Q Defendant states true name is as charged.



   Q Attorney. Aleksandr Gruzman and Q Retained

   Q BAIL FIXED AT $100,000.00 (SEE ATTACHED COPY OF ~~i BOND FORM FOR CONDITIONS.)

   Q Preliminary Hearing waived.

  Q Other: PIA held see separate minutes; bond set in ND/IL, if bond not secured, bond will be due in
  2wks from today (7/13/21).

  Q PSA, Q FINANCIAL, Q CR-10, Q CR-29, D READY


                                                                                             Deputy Clerk Initials: slo
                                                                                                              00:08




M-5 (10/13)                   CALENDAR/PROCEEDING SHEET - LOCAUOUT-OF-DLSTRICT CASE
                                                                                                                 Page 1 of 1
          Case 2:21-cr-00259-AB Document 37 Filed 07/13/21 Page 2 of 5 Page ID #:152
                                                                                                                                    J,,

 AO 199A (Rev. 06/19) Order Setting Conditions of Release                                                   Page 1 of   4   Pages



                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                            Northern District of Illinois


                     United States of America
                                v.
                          Elena Shifrin
                                                                                   Case No. 1:21-cr-00382

                               Defendant

                                         ORDER SETTING CONDITIONS OF RELEASE

 IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose.
       The defendant must appear at:
                                                                                            Place




       on
                                                                         Date and Time


       If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.




$100,000 secured bond
              Case 2:21-cr-00259-AB Document 37 Filed 07/13/21 Page 3 of 5 Page ID #:153




 AO 199B (Rev. 12/20) Additional Conditions ofRelease                                                                                    Page~of 4 Pages


                                                    ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive conditions) only as necessary to reasonably assure the
appearance ofthe personas required and the safety of any other person and the community.

        IT IS FURT~R ORDERED that the defendant's release is subject to the conditions marked below:

(Q) (6) The defendant is placed in the custody of:
             Person or organization
             Address (only ifabove is an organization)
             City and state                                                                             Tel. No.
 who agrees to (a) supervise the defendant,(b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately ifthe defendant violates a condition of release or is no longer in the custodian's custody.

                                                                           Signed:
                                                                                              Custodian                                             Date
 ~0) ~~) The defendant must:
     ~❑)(a) submit to supervision by and report for supervision to the                                                                     ,
             telephone number                                    ,no later than
    (~✓ )(b) continue or actively seek employment.
    (~)(c) continue or start an education program.
     ~0)(d) surrender any passport to:              Pretrial Services
    (~✓)(e) not obtain a passport or other international travel document.
     ~❑✓)(fl abide by the following restrictions on personal association, residence, or travel: travel restricted to the Northern District of Illinois, or for court
             purposes only to the Central District of California
     ~0~ (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
             including: co-defendants in this case

      (Q)(h) get medical or psychiatric treatrnent:

      (Q)(i) return to custody each                           at            o'clock after being released at                   o'clock for employment,
             or the following purposes:

      (Q) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
              necessary.
      (Q)(k) not possess a firearm, destructive device, or other weapon.
      (~) (1) not use alcohol( ❑)at all(❑)excessively.
      (Q)(m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
              medical practitioner.
      (❑)(n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
              random frequency and may include urine testing, the weazing of a sweat patch, a remote alcohol testing system, and/or any form of
              prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
              ofprohibited substance screening or testing.
      (Q)(o) participate in a program of inpatient or outparient substance abuse therapy and counseling if directed by the pretrial services office or
              supervising officer.
      (Q)(p) participate in one ofthe following location restriction programs and comply with its requirements as directed.
             (Q)(i) Curfew. You are restricted to your residence every day( ~)from                                  to              ,or (Q)as
                           directed by the pretrial services office or supervising officer; or
             (Q)(ii) Home Detention. You aze restricted to your residence at all times except for employment; education; religious services;
                          medical, substance abuse, or mental health treahnent; attorney visits; court appeazances; court-ordered obligations; or other
                         activities approved in advance by the pretrial services office or supervising officer; or
             (Q)(iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                         court appearances or other activities specifically approved by the court; or
             (Q)(iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incazceration restrictions. However,
                          you must comply with the location or travel restrictions as imposed by the court.
                         Note: Stand Alone Monitoring should be used in conjunction with global posirioning system(GPS)technology.
            Case 2:21-cr-00259-AB Document 37 Filed 07/13/21 Page 4 of 5 Page ID #:154




AO 199B (Rev. 12/20) Addirional Conditions of Release                                                                        Page 3   of 4 Pages

                                                          ADDITIONAL CONDITIONS OF RELEASE

     (Q)(c~ submit to the following location monitoring technology and comply with its requirements as directed:
           (❑)(i) Location monitoring technology as directed by the pretrial services or supervising officer; or
           (Q)(ii) Voice Recognition; or
           (Q)(iii) Radio Frequency; or
           (❑)(iv) GPS.
     (Q) (r) pay all or part ofthe cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
             officer.
     (Q)(s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
             questioning, or traffic stops.
       ❑
       ✓ ~ ~t~     Property documents to be submitted by COB on June 29, 2021 and deposited with the Clerks Office
          Case 2:21-cr-00259-AB Document 37 Filed 07/13/21 Page 5 of 5 Page ID #:155


AO I99C (Rev. 09/(~l) Advice of Penalties
                                                                                                                    Page   4   of   4    Page
                                            ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWWG PENALTIES AND SANCTIONS:

        Violating any of the foregoing conditions of release may ~sult in the immcdiatc issu~uicc cif a warrurn
                                                                                                                     for your lrrest, a
revocation of your release,:ui cider of detention, a forfeiture of any honci, and a prosecution for contempt of court
                                                                                                                             and could result in
unprisonment, a fine, or both.
        While on releHse, if you commit a fecier~l felony offense the punishment is an additional prison term of nat mare than ten
                                                                                                                                           years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence
                                                                                                                                          will be
consecutive (i.e., in addition to) to any other sentevee you receive.
        It is a crime pwiishablc by up to ten years in prison, and n $250,000 fine, or both, to: ohstnict a crinunal investigation;
tuuPer with a witvcss, victnn, or intonnant:retaliate car attempt to retaliate against a witness, victim,~r inforinanl; or intimidate or attempt
to intimicL~te a witness, victim, jtvor, informant, or officer of the court. The pen:iltics for tampering, rewliatian, ar intinudation are
significantly more serious if they invcilve a killing or attempted killing.
        If, after release, you knowingly foul to appear ;►s the conditions of release reyuire, or to sturender to serve a sentence,
you may be prosecuted for failing to appe:u or surrender and additional punishment mdy he imposed. ll you are convicted of:
        (1) an offense punishable by death, life imprisonment, or imprisotuncnt for a tcrn~ of fifteen years or more —you will he lined
              not more than $2SU,000 or imprisoned for not more lh;m 10 yens, ar Iwth;
        (2) an offense punishable by imprisomncnt for a term of Gvc ycacs or more, but less Than fifteen years —you will he fined not
              more than X250,000 or un~risoned for not more than five years•, or both:
        (3) any other felony — you will be fined not more lhun $250,000 or imprisoned not mom than two years, or both;
        (4) a misdeme:~nor — you will he fined not mure than $100,000 or imprisoned not mere than one year, or both.
        A term of imprisonment imposed fur failure to appeu or surrender will be consecutive to any other sentence you receive. In
~dctition, a failure to appear or surrender may result in the lbrfciture of any lwnd posted.

                                                   Acknowledgment of the Defendant

      Iacknowlecigc thatIam the dcfenclsmt in This case and thatIam aware of Qic conditions ~f release. Ipromise io obey all conditions
oCrcicasc, to appear as duetted, and sutrevdcr to serve any sentence imposed. I:un aware of the pcnullics snd sanctions set lords above.




                                                                                          Defc~ulunt's Signnnrrc



                                                                                              (~1/1' (1!1!1 S1GfP




                                                 Directions to the United States Marshal

( x) The defendant is ORDERED released after prcx;essing.
~ ~ The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or,jiul~e that the defendant.
     has posted bond ;uid/or complied with all other conditions for release. if still in custody, the defend~mt mist be produced before
     the aQpropriatc judge at the time and place specified.


Date:    6/ 17/2021                                                                                     r                  _                    ..
                                                                                        Juditi~l O~rer's Sigrraturr.


                                                                              U S lViagis ra e Tudg~~Pf~ fr~v,T Gilbert                     --
                                                                                          Yiin~cd r~nnrr~ mid ~if(r




                    DISTRIBt1TION:      CO[~RT    DEFENDAIV'f     PRETRIAL SERVICE        L1.S. ATTORNEY            L.S. MARSHAL
